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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


JANET JENKINS, et al.,

                               Plaintiffs,

               v.                                              No. 2:12-cv-184-WKS

KENNETH L. MILLER, et al.,

                               Defendants.


                   STATEMENT OF UNDISPUTED FACTS
               IN SUPPORT OF PLAINTIFF JANET JENKINS’S
        MOTION FOR PARTIAL SUMMARY JUDGMENT ON COUNT ONE
      AGAINST DEFENDANTS PHILIP ZODHIATES, KENNETH MILLER, AND
                          TIMOTHY MILLER

       Pursuant to Rule 56(c)(1) of the Federal Rules of Civil Procedure and Rule 56(a) of the

Local Rules of the United States District Court for the District of Vermont, Plaintiff Janet

Jenkins, through undersigned counsel, submits this statement of material facts that cannot be

disputed in support of her motion for partial summary judgment on Count One against

Defendants Philip Zodhiates, Kenneth Miller, and Timothy Miller:


 UNDISPUTED FACTS MATERIAL TO COUNT ONE AGAINST KENNETH MILLER

       1.      On December 15, 2011, a grand jury impaneled in this Court returned a one-count

indictment charging Kenneth Miller with aiding and abetting Lisa Miller in the removal of

Isabella Miller-Jenkins from the United States with the intent to obstruct the lawful exercise of

parental rights, in violation of 18 U.S.C. §§ 2, 1204. See Kenneth L. Miller Indictment, Ex. 7.

       2.      Exhibit 8 is a true and correct copy of the entirety of the Court’s jury charge and

is incorporated herein.




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          3.    The Rutland, Vermont Family Court ordered that Jenkins had the right to

visitation with Isabella on numerous occasions starting in June 2004. See, e.g., Kenneth L. Miller

Gov’t Ex. 5, Ex. 1; Zodhiates Gov’t Ex. 13, Ex. 2.

          4.    For example, on September 11, 2009, the court ordered unsupervised parent–child

contact between Jenkins and Isabella from September 25, 2009, to September 27, 2009. See

Kenneth L. Miller Gov’t Ex. 12, Ex. 3; Zodhiates Gov’t Ex. 20, Ex. 4.

          5.    On November 20, 2009, the court granted Jenkins “sole physical and legal

custody” of Isabella and ordered that Isabella be transferred to her on January 1, 2010. See

Kenneth L. Miller Gov’t Ex. 14, Ex. 5; Zodhiates Gov’t Ex. 21, Ex. 6.

          6.    The jury found Kenneth Miller guilty on August 14, 2012. Kenneth L. Miller

Verdict Form, Ex. 9.

          7.    The Court imposed its judgment on March 4, 2013. Kenneth L. Miller Judgment,

Ex. 10.

          8.    The United States Court of Appeals for the Second Circuit affirmed the

conviction on December 16, 2015. See United States v. Kenneth L. Miller, 808 F.3d 607 (2d Cir.

2015); see also Kenneth L. Miller 2d Cir. Op., Ex. 11.

          9.    The United States Court of Appeals for the Second Circuit issued the mandate on

February 1, 2016. See Kenneth L. Miller 2d Cir. Mandate, Ex. 12.

          10.   Kenneth Miller did not petition the Supreme Court of the United States for a writ

of certiorari. See Kenneth L. Miller 2d Cir. Docket Report at 5, Ex. 13.


 UNDISPUTED FACTS MATERIAL TO COUNT ONE AGAINST TIMOTHY MILLER

          11.   On April 24, 2015, a grand jury impaneled in the United States District Court for

the Western District of New York returned a two-count superseding indictment against Lisa



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Miller, Philip Zodhiates, and Timothy Miller. See Timothy Miller Superseding Indictment,

Ex. 14.

          12.   The first count (“the conspiracy count”) charged each with conspiring to remove

Isabella from the United States and to retain her outside the United States with intent to obstruct

Jenkins’s parental rights, in violation of 18 U.S.C. § 371. See id. at 1.

          13.   The second count (“the international parental kidnapping count”) charged each

with removing, and aiding and abetting the removal of, Isabella from the United States with

intent to obstruct Jenkins’s parental rights, in violation of 18 U.S.C. §§ 2, 1204. See id. at 3.

          14.   On November 30, 2016, Timothy Miller pleaded guilty to the conspiracy count.

Timothy Miller Plea Agreement, Ex. 16.

          15.   Exhibit 16 is a true and correct copy of the entirety of Timothy Miller’s plea

agreement and is incorporated herein.

          16.   The Rutland, Vermont Family Court ordered that Jenkins had the right to

visitation with Isabella on numerous occasions starting in June 2004. See, e.g., Kenneth L. Miller

Gov’t Ex. 5, Ex. 1; Zodhiates Gov’t Ex. 13, Ex. 2.

          17.   For example, on September 11, 2009, the court ordered unsupervised parent–child

contact between Jenkins and Isabella from September 25, 2009, to September 27, 2009. See

Kenneth L. Miller Gov’t Ex. 12, Ex. 3; Zodhiates Gov’t Ex. 20, Ex. 4.

          18.   The court imposed its judgment on March 23, 2017. See Timothy Miller Judgment

at 2, Ex. 18.

          19.   Timothy Miller did not appeal his judgment of conviction. See Timothy Miller

Docket Report at 7, Ex. 19.




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UNDISPUTED FACTS MATERIAL TO COUNT ONE AGAINST PHILIP ZODHIATES

          20.   On April 24, 2015, a grand jury impaneled in the United States District Court for

the Western District of New York returned a two-count superseding indictment against Lisa

Miller, Philip Zodhiates, and Timothy Miller. See Zodhiates Indictment, Ex. 15.

          21.   The first count (“the conspiracy count”) charged each with conspiring to remove

Isabella from the United States and to retain her outside the United States with intent to obstruct

Jenkins’s parental rights, in violation of 18 U.S.C. § 371. See id. at 1.

          22.   The second count (“the international parental kidnapping count”) charged each

with removing, and aiding and abetting the removal of, Isabella from the United States with

intent to obstruct Jenkins’s parental rights, in violation of 18 U.S.C. §§ 2, 1204. See id. at 3.

          23.   Exhibit 20 is a true and correct copy of the entirety of the court’s jury charge and

is incorporated herein.

          24.   The Rutland, Vermont Family Court ordered that Jenkins had the right to

visitation with Isabella on numerous occasions starting in June 2004. See, e.g., Kenneth L. Miller

Gov’t Ex. 5, Ex. 1; Zodhiates Gov’t Ex. 13, Ex. 2.

          25.   For example, on September 11, 2009, the court ordered unsupervised parent–child

contact between Jenkins and Isabella from September 25, 2009, to September 27, 2009. See

Kenneth L. Miller Gov’t Ex. 12, Ex. 3; Zodhiates Gov’t Ex. 20, Ex. 4.

          26.   The jury convicted Zodhiates on both counts of the superseding indictment on

September 29, 2016. See Zodhiates Jury Verdict, Ex. 21.

          27.   The court imposed its judgment on March 22, 2017. Zodhiates Judgment at 1–2,

Ex. 22.

          28.   The Second Circuit affirmed the conviction on August 21, 2018. See United

States v. Zodhiates, 901 F.3d 137 (2d Cir. 2018); see also Zodhiates 2d Cir. Op., Ex. 23.


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       29.     The Second Circuit issued the mandate on October 26, 2018. See Zodhiates 2d

Cir. Mandate, Ex. 24.

       30.     The Supreme Court denied Zodhiates’s petition for a writ of certiorari on

February 25, 2019. See Zodhiates v. United States, 139 S. Ct. 1273 (2019); see also Feb. 25,

2019 Sup. Ct. Order List at 10, Ex. 25.


December 13, 2019                               Respectfully submitted.

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